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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                GALVESTON DIVISION

JAMES ENGLISH,                                     §
                                                   §
       Plaintiff,                                  §
v.                                                 §
                                                   §   Civil Action No. 3:23−cv−00086
FREEDOM MORTGAGE                                   §
CORPORATION,                                       §
                                                   §
        Defendant.                                 §

                DEFENDANT FREEDOM MORTGAGE CORPORATION’S
                  REPLY IN SUPPORT OF ITS MOTION TO DISMISS
             PURSUANT TOFEDERAL RULE OF CIVIL PROCEDURE 12(B)(6)

        Defendant Freedom Mortgage Corporation (“Freedom” or “Defendant”) files this its

Reply in Support of its Motion to Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6)

and respectfully shows as follows:

A.      Plaintiff failed to respond to Defendant’s arguments and still hasn’t provided any
        claims or facts sufficient to support any claims in his Amended Complaint.

        1.      As stated in Defendant’s Motion to Dismiss Pursuant to Federal Rule of Civil

Procedure 12(b)(6), Plaintiff’s claims fail as he has not provided a short and plain statement of

the claims showing that he is entitled to relief (See ECF Docket No. 16 at § III(a).) and even

when Plaintiff has provided some language that might indicate he is making a claim, he hasn’t

plead sufficient facts to support any claims. (Id. at § III(b) and (c).) Plaintiff’s letter that he filed

with the subject line “Refutation of Dismissal Motion – Case No. 3:23-CV-00086” does nothing

to make any of Plaintiff’s purported claims any clearer. (See ECF Docket No. 20 generally.)

        2.      Plaintiff continues to reference Texas Constitution art. XVI § 50(a)(6), mentions

that it governs home-equity loans, but doesn’t show how this applies to the current situation

where the loan in question is not a home-equity loan. (See id.)

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        3.      Plaintiff goes on to restate several pieces of information that he included in his

Amended Complaint, but again fails to provide any argument as to what his claims are or how

Defendant is liable. (See id.)

        4.      Defendant reiterates its arguments in its Motion to Dismiss Pursuant to Federal

Rule of Civil Procedure 12(b)(6). Without some clearer indication as to what Plaintiff’s

allegations are, Defendant is unable to properly respond.

        5.      Plaintiff fails to state a claim upon which relief may be granted and, as such, all of

his claims fail and should be dismissed.

                                                PRAYER

        For these reasons, Defendant Freedom Mortgage Corporation respectfully prays that all

of Plaintiff’s claims against it in this case be dismissed with prejudice and that the Court grant it

all other relief to which it may be entitled.



                                                       Respectfully submitted,

                                                       /s/ Bradley Conway
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                                                       Attorneys for Defendant Freedom Mortgage
                                                       Corporation




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 6th day of June 2023, a true and correct copy of the foregoing
was served via ECF service and first class mail on the following:

       James English
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       Rosharon, TX 77583
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       Pro Se Plaintiff

                                                    /s/ Bradley Conway
                                                    BRADLEY CONWAY




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